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                         EXHIBIT “A”

    KARIM VELLANI’S REBUTTAL TO
  JOHN C. VILLINES’ AMENDED REPORT
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March 16, 2018




Nicole C. Leet, Attorney at Law
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      Re:    Civil Action No. 17A64582; Yvette Adelle Sanders, Individually and as
             surviving parent, and Yvette Adelle Sanders, as Administratrix of The Estate
             of Andrew Thomas Spencer, deceased, Plaintiffs vs. QuikTrip Corporation,
             and BJS QT, LLC, Defendants; In the State Court of DeKalb County, State
             of Georgia


Ms. Leet:

Please find attached my rebuttal report in the above referenced matter.


Respectfully submitted,




Karim H. Vellani, CPP, CSC




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JOHN C. VILLINES OPINIONS AND OPINION SUPPORT

Plaintiff’s expert John C. Villines opined in his Report of January 17, 2018 as follows:

        The presence of an appropriately trained and deployed capable guardian in
        the exterior common areas of the subject QuikTrip on Thursday, December
        29, 2016 in the hour of 3:00 a.m. would, more likely than not, have deterred
        or prevented the murder of Andrew Spencer.

Mr. Villines in his Amended Report of March 1, 2018 adds the following commentary:

        In summation, the empirical criminological research is consistent and clear
        that the presence of security officers, and the presence of police officers, in
        areas where there is an assessed, increased likelihood of criminal activity,
        reduces the criminal activity in that targeted area. The efficacy of that
        deployment can likely be increased through a holistic approach that builds
        on intelligence-led practices, effective engagement with the community, a
        problem-oriented approach, and limiting patrol to a functionally manageable
        area.


CAPABLE GUARDIAN

A capable guardian, according to Criminologists Ronald V. Clarke and John Eck, is
usually people protecting themselves, their own belongings or those of family members,
friends, and co-workers. Guardians also include public police and private security.1

Mr. Villines use of the capable guardian concept is incorrectly limited to security officers
and police officers.


EFFICACY OF SECURITY OFFICERS IN PREVENTING VIOLENT CRIME

In 2010 and 2017, the International Association of Professional Security Consultants
(IAPSC) commissioned literature searches by the librarian at the Rutgers School of
Criminal Justice. The scope of the literature searches was for all research studies
regarding police and security officer capabilities for preventing violent crime in the United
States. Based on the literature search, there were no research studies regarding armed
or unarmed security officers capabilities for preventing violent crime.

1 Clarke, R. V. G., Eck, J. E., & United States. (2005). Crime analysis for problem solvers in 60 small

steps. Washington, D.C.: U.S. Dept. of Justice, Office of Community Oriented Policing Services.
http://www.popcenter.org/learning/60steps/index.cfm?stepNum=8



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Mr. Villines opinion that “the presence of security officers….in areas where there is an
assessed, increased likelihood of criminal activity, reduces the criminal activity in that
targeted area” is not supported by the literature.


EFFICACY OF POLICE OFFICERS IN PREVENTING VIOLENT CRIME

The literature searches commissioned by the IAPSC identified nine studies which
addressed Police (e.g. foot patrols, directed/saturation patrols, Problem Oriented
Policing, COMPSTAT) effectiveness on preventing violent crime. Key findings from the
nine police-related studies include:

       Proactive policing does not decrease shootings2

       Increasing police has very small effect on violent crime3

       COMPSTAT (an intelligence-based policing concept) is less effective on violent
        crimes relative to property crimes4

       Police foot patrol and Problem Oriented Policing5 did not result in reductions in
        violent crime relative to controls6



2 Wells, W.; Wu, L. (2011). “Proactive Policing Effects on Repeat and Near-Repeat Shootings in

Houston.” Police Quarterly, 14(3):298-319.
3 Carriaga, M.L.; Worrall, J.L. (2015). “Police Levels and Crime: A Systematic Review and Meta-Analysis.”

Police Journal: Theory, Practice and Principles, 88(4):315-333.

4 McElvain, J.P.; Kposova, A.J.; Gray, B.C. (2012). “Testing a Crime Control Model: Does Strategic and

Directed Deployment of Police Officers Lead to Lower Crime?” Journal of Criminology, 2013: 1-11.

5 Problem-oriented policing is an approach to policing in which discrete pieces of police business (each

consisting of a cluster of similar incidents, whether crime or acts of disorder, that the police are expected
to handle) are subject to microscopic examination (drawing on the especially honed skills of crime
analysts and the accumulated experience of operating field personnel) in hopes that what is freshly
learned about each problem will lead to discovering a new and more effective strategy for dealing with it.
Problem-oriented policing places a high value on new responses that are preventive in nature, that are
not dependent on the use of the criminal justice system, and that engage other public agencies, the
community and the private sector when their involvement has the potential for significantly contributing to
the reduction of the problem. (http://www.popcenter.org/about/?p=whatiscpop) See also
http://www.popcenter.org/about/?p=elements
6 Groff, E.R.; Ratcliffe, J.H.; Haberman, C.P.; Sorg, E.T.; Joyce, N.M.; Taylor, R.B. (2015). “Does What

Police Do at Hot Spots Matter? The Philadelphia Policing Tactics Experiment.” Criminology, 53(1):23-53.



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       Police foot patrols decrease violent crime, but decay quickly7

       Problem Oriented Policing was associated with a 33% reduction in street violence
        during the 90-day post-period. No crime reductions for the saturation/directed
        patrol group.8

       Directed Patrol (possibly due to certainty of arrests and occupied vehicle checks)
        caused a sizable Nondomestic Firearm Assault decrease, but had no impact on
        Firearm Robbery9

       Police foot patrols reduce violent crime10

       The SST program (using Problem Oriented Policing concepts) was associated with
        a statistically significant reduction in violent index crimes at the treatment places
        relative to the comparison places11

Mr. Villines opinion that “the presence of police officers, in areas where there is an
assessed, increased likelihood of criminal activity, reduces the criminal activity in that
targeted area” is not supported by the literature. As indicated by the key findings above,
Mr. Villines is incorrect in his assertion that “…the empirical criminological research is
consistent and clear” on this issue.

One of the nine studies addressed decay, that is, diminishing returns after treatment is
implemented. The finding from this study was that the deterrent effect quickly decayed.
More specifically, crime reduction was greatest after the initial implementation of foot
patrol, dissipating quickly during the project. During the latter part of the treatment period,
violent crime rates rebounded in the foot beat areas, doubling from the initial early-
treatment low point during the latter eight weeks of treatment. Violent crime rates had
already returned to pre-treatment levels while foot patrols were still deployed. The results

7 Novak, K.J.; Fox, A.M.; Carr, C.M.; Spade, D.A. (2016). “The Efficacy of Foot Patrol in Violent Places.”

Journal of Experimental Criminology, 12(3):465-475.

8 Taylor, B.G.; Koper, C.S.; and Woods, D.J. (2010). “A Randomized Controlled Trial of Different Policing

Strategies at Hot Spots of Violent Crime.” Journal of Experimental Criminology, 7(2):149-181.

9 Rosenfeld, R.; Deckard, M.J.; and Blackburn, E. (2014). “The Effects of Directed Patrol and Self-Initiated

Enforcement on Firearm Violence: A Randomized Controlled Study of Hot Spot Policing.” Criminology,
52(3):428-449.

10 Ratcliffe, J.H.; Taniguchi, T.; Groff, E.R.; and Wood, J.D. (2011). “The Philadelphia Foot Patrol

Experiment: A Randomized Controlled Trial of Police Patrol Effectiveness in Violent Crime Hotspots”
Criminology, 49:795-831.

11 Braga, A.A., Hureau, David & Papachristos, Andrew. (2012). An Ex Post Facto Evaluation Framework

for Place-Based Police Interventions. Evaluation review. 35. 592-626. 10.1177/0193841X11433827.


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presented here indicate that any treatment benefit is relatively short-lived, which is
consistent with previous observations.12

Mr. Villines failed to address decay in his opinion.

Mr. Villines support for his opinion that “the presence of police officers, in areas where
there is an assessed, increased likelihood of criminal activity, reduces the criminal activity
in that targeted area” in his Amended Report of March 1, 2018 included the following:

        ….two recent FP [foot patrol] studies found significant violent crime
        reductions of 23 percent in Philadelphia, Pennsylvania (Ratcliffe et al.,
        2011), though this reduction dissipated after FPs were removed (Sorg et
        al., 2013), and 30 percent in Newark, New Jersey (Piza and O’Hara, 2012),
        when FP was focused in micro-crime hot spots.”

The research cited by Mr. Villines indicates that 77 percent and 70 percent of violent
crimes respectively still occurred despite the presence of police patrolling small areas
(micro crime hot spots). This contradicts Mr. Villines opinion that “The presence of an
appropriately trained and deployed capable guardian …. would, more likely than not, have
deterred or prevented the murder of Andrew Spencer.”




12 Novak, K.J.; Fox, A.M.; Carr, C.M.; Spade, D.A. (2016). “The Efficacy of Foot Patrol in Violent Places.”

Journal of Experimental Criminology, 12(3):465-475.



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